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 Timothy R. Farrell
 ROPES & GRAY LLP
 191 North Wacker Drive, 32nd Floor
 Chicago, IL 60606-4302



                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA

 Diana Grootonk, an individual                                      CASE NUMBER
                                                                                             8:22-cv-01868
                                                    Plaintiff(s)
                            v.
 Labrie Environmental Group, LLC, a Delaware entity,                (PROPOSED) ORDER ON APPLICATION OF NON-
 and Does 1-200                                                        RESIDENT ATTORNEY TO APPEAR IN A
                                                                           SPECIFIC CASE PRO HAC VICE
                                       Defendant(s).
The Court, having determined whether the required fee has been paid, and having reviewed the Application of
Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by

  Farrell, Timothy, R.                                                       of
  Applicant’s Name (Last Name, First Name & Middle Initial
  (312) 845-1200                  (312) 845-5500
  Telephone Number                Fax Number
  timothy.farrell@ropesgray.com
                         E-Mail Address                                            Firm/Agency Name & Address

for permission to appear and participate in this case on behalf of

  Labrie Environmental Group, LLC


  Name(s) of Party(ies) Represent                                  ☐ Plaintiff(s) ☒ Defendant(s) ☐
  Other:

and designating as Local Counsel

  Tsai, Rocky, C.                                                             of   ROPES & GRAY LLP
  Designee’s Name (Last Name, First Name & Middle Initial                          10250 Constellation Blvd.
  221452                   (310) 975-3300        (310) 975-                        Los Angeles, CA 90067
                                                 3400
   Designee’s Cal. Bar         Telephone             Fax
            No.                 Number             Number
  rocky.tsai@ropesgray.com
                        E-Mail Address                                             Firm/Agency Name & Address

HEREBY ORDERS THAT the Application be:

  ☐GRANTED
  ☐DENIED:            ☐    for failure to pay the required fee.
                           for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of
                      ☐
                           Application.
                           for failure to complete
                      ☐    Application:

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                      ☐    pursuant to L.R. 83-2.1.3.2: ☐Applicant resides in California; ☐ previous Applications listed
                           indicate Applicant is regularly employed or engaged in business, professional, or other similar
                           activities in California.
                      ☐    pursuant to L.R. 83-2.1.3.4; Local Counsel: ☐ is not member of Bar of this Court; ☐ does not
                           maintain office District.
                      ☐    because




IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid: ☐ be refunded ☐ not be refunded.

Dated: Click here to enter a date.
                                                                            U.S. District Judge/U.S. Magistrate Judge




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